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                                                                                               CLOSED,LC 2
                                        U.S. District Court
                              District of South Carolina (Columbia)
                        CIVIL DOCKET FOR CASE #: 3:14−cv−01797−JFA

Johnson et al v. Amazon.com dedc LLC et al                    Date Filed: 05/02/2014
Assigned to: Honorable Joseph F Anderson, Jr                  Date Terminated: 06/05/2014
Cause: 29:201 Fair Labor Standards Act                        Jury Demand: Plaintiff
                                                              Nature of Suit: 710 Labor: Fair Standards
                                                              Jurisdiction: Federal Question
Plaintiff
William Johnson                                 represented by Marybeth E Mullaney
                                                               Mullaney Law
                                                               321 Wingo Way
                                                               Suite 201
                                                               Mount Pleasant, SC 29464
                                                               800−385−8160
                                                               Fax: 800−385−8160
                                                               Email: marybeth@mullaneylaw.net
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              William Clark Tucker
                                                              Tucker Law Firm
                                                              223 West Main Street
                                                              Suite A
                                                              Charlottesville, VA 22902
                                                              434−979−0049
                                                              Fax: 434−919−0037
                                                              Email: william.tucker@nelsontucker.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Plaintiff
Tyrone Fisher                                   represented by Marybeth E Mullaney
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              William Clark Tucker
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Plaintiff
Brian Gunter                                    represented by Marybeth E Mullaney
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
               Case 3:14-cv-00418-JGH Document 11 Filed 06/05/14 Page 2 of 3 PageID #: 32

                                                            William Clark Tucker
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
Lester Mayo                                    represented by Marybeth E Mullaney
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                            William Clark Tucker
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
Jeffrey Hope                                   represented by Marybeth E Mullaney
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                            William Clark Tucker
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
Latoshia Mack                                  represented by Marybeth E Mullaney
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                            William Clark Tucker
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Plaintiff
Christina Thomas                               represented by Marybeth E Mullaney
On Behalf of Themselves and Others Similarly                  (See above for address)
Situated                                                      LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                            William Clark Tucker
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED


V.
              Case 3:14-cv-00418-JGH Document 11 Filed 06/05/14 Page 3 of 3 PageID #: 33

Defendant
Amazon.com dedc LLC

Defendant
Amazon Corporate LLC

Defendant
Amazon Fulfillment Services Inc

Defendant
SMX LLC

Defendant
Staff Management Inc


 Date Filed        #    Docket Text

 05/02/2014       Ï1    COLLECTIVE ACTION COMPLAINT against Amazon Corporate LLC, Amazon Fulfillment
                        Services Inc, Amazon.com dedc LLC, SMX LLC, Staff Management Inc ( Filing fee $ 400
                        receipt number 0420−5317397.), filed by Brian Gunter, Tyrone Fisher, William Johnson, Jeffrey
                        Hope, Latoshia Mack, Lester Mayo, Christina Thomas. Service due by 9/5/2014(bshr, ) (Entered:
                        05/05/2014)

 05/02/2014       Ï3    Local Rule 26.01 Answers to Interrogatories by Tyrone Fisher, Brian Gunter, Jeffrey Hope,
                        William Johnson, Latoshia Mack, Lester Mayo, Christina Thomas.(bshr, ) (Entered: 05/05/2014)

 05/02/2014       Ï4    Summons Issued as to Amazon Corporate LLC. (bshr, ) (Entered: 05/05/2014)

 05/02/2014       Ï5    Summons Issued as to SMX LLC. (bshr, ). Modified on 5/6/2014 to replace summons with
                        corrected version per the request of the filing user(bshr, ). (Entered: 05/05/2014)

 05/02/2014       Ï6    Summons Issued as to Staff Management Inc. (bshr, ). Modified on 5/6/2014 to replace summons
                        with corrected version per the request of the filing user(bshr, ). (Entered: 05/05/2014)

 05/06/2014       Ï8    Summons Issued as to Amazon.com dedc LLC. (bshr, ) (Entered: 05/06/2014)

 05/06/2014       Ï9    Summons Issued as to Amazon Fulfillment Services Inc. (bshr, ) (Entered: 05/06/2014)

 06/05/2014      Ï 10   Case transferred to Western District of Kentucky per certified copy of Conditional Transfer Order
                        Number CTO−3. The Transferring Clerk's Office hereby attests the record and the docket sheet
                        available through CM/ECF to be the certified list. (Attachments: # 1 CTO−3)(bshr, ) (Entered:
                        06/05/2014)
